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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS



Thomas Kuznar, as administrator of the "Estate of
Emilia Piastowska Kuznar (11 P 6624), Deceased",

                                Plaintiff,

v.                                                          Case No.1: 11-cv-09229
                                                            HON. JOAN HUMPHREY LEFKOW
Anna Kuznar,

                                Defendant.


     ANNA KUZNAR'S MOTION TO DISMISS PLAINTIFF'S INITIAL PLEADING
           PURSUANT TO FRCP 12(b)(6), 12(b)4), 12(b)(2) AND 12(b)(7)

          NOW COMES Anna Kuznar by and through her attorneys, and for her Motion To

Dismiss Plaintiff's Initial Pleading Pursuant To FRCP 12(b)(6), 12(b)(4), 12(b)(2) and 12(b)(7)

states:

1.        Anna Kuznar asserts that the initial pleading filed on behalf of the newly opened Estate

of the deceased Emilia Piastowska requesting a judgment against Anna Kuznar is defective as a

pleading and thus fails to state a claim upon which relief can be granted in ways which include,

but are not necessarily limited to, the following:

          a.     The initial pleading by this newly opened Estate with regard to an ERISA·

governed pension plan and benefits, was erroneously filed as a motion for summary judgment

when it should have been initiated as a new complaint. The Estate of the foreign decedent,

Emilia Piastowska, was allowed to be opened in the Cook County Circuit Court in December

2011 (herein sometimes "Emilia's Estate"). (See paragraph 9 of Plaintiff's initial pleading.) This

Estate is a newly-created entity. Like any other person or entity, Emilia's Estate must comply



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with applicable statutes and court rules. However, when Emilia's Estate chose to file a request

for reliefin Illinois, instead of filing a complaint as required pursuant to 735 ILCS 5/2-201(a)

(which provides that "[e]very action, unless expressly provided by statute, shall be commenced

by the filing of a complaint. The clerk shall issue summons upon request of the plaintiff . . .")

the Estate inexplicably filed a '"motion for summary judgment" as its initial pleading without any

complaint first being filed.

       b.      In addition, instead of being filed as a new complaint with its own caption and

case number, the "motion for summary judgment" was erroneously filed under the case number

and case caption of the estate of another deceased individual, Mitchell Kuznar                               an estate

proceeding in which the Estate of the foreign decedent Emilia is not a party. Moreover, the relief

being sought in this initial pleading by Emilia's Estate involves ERISA proceeds which are not a

probate asset of Mitchell Kuznar who died in 1995. The "motion for summary judgment" by

Emilia's Estate only requests relief against Anna Kuznar and does not request any relief against

or on behalf of Mitchell's Estate or allege that the "motion" involves any probate asset of

Mitchell's Estate.

        c.      The initial "motion" pleading by Emilia's Estate fails to adequately set forth a

cognizable legal claim or facts sufficient to support a legal claim. The "motion" makes a

conclusory allegation about "federal ERISA laws" (see paragraph 6 of Plaintiffs initial pleading)

but fails to allege what provisions of federal law Emilia's Estate is relying on for its request for

relief. In addition, the "motion" fails to allege facts sufficient to support any legal claim against

Anna Kuznar.

        d.      In addition, the initial "motion" filed on behalf of Emilia's Estate is incorrect in

its form and fails to comply with the requirements ofFRCP 3, 8(a) and 10.



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2.      The initial pleading by Emilia's Estate ("motion for summary judgment") requesting a

judgment against Anna Kuznar is also defective because no summons was ever sought or issued.

Pursuant to FRCP 4(c) a summons must be served with a copy of the complaint. (See also 735

ILCS 5/2-20l(a) cited in paragraph lea) above). Here, where there was no summons and hence

no "process" issued at all it is clear that there was "insufficient process" under FRCP l2(b)(4),

thus requiring dismissaL J

3.      Because of the defects described above, including but not limited to, the failure to name

Anna Kuznar as a Defendant even in the caption of the defective "motion" pleading initially filed

by Plaintiff and the failure to have a summons issued against her, this court lacks personal

jurisdiction over Anna Kuznar, requiring dismissal of the Plaintiffs "motion for summary

judgment" under FRCP 12(b)(2).

4.    Plaintiffs initial pleading requesting a judgment against Anna Kuznar is also defective for

failing to join a necessary party under FRCP 19 in that the request for relief against Anna Kuznar

alleges apparently that certain ERISA pension plan proceeds were wrongly distributed to Anna

Kuznar but fails to join as a defendant the party which made those payments, the administrator of

the 401(k) plan (the Kraft Plan), and in that it asks the court to interpret the terms of the ERISA

401 (k) pension plan without joining as a defendant the administrator of that plan.

5.      Anna Kuznar incorporates by reference herein the Brief filed in support of this Motion.

        WHEREFORE, Anna Kuznar respectfully requests that this Honorable Court grant the

following relief:


1 A summons sets forth a time frame and procedure for a defendant to respond and raise any answer,
affirmative defenses and counterclaims that the defendant may have. If a Court allowed a Plaintiff to
bypass the normal process due to a party against whom a judgment is sought by filing a motion under
some other party's preexisting case number (as the plaintiff did in this case) rather than a complaint and
summons, thus eliminating a defendant's ability to file and adjudicate defenses or counterclaims he/she
may have, it would constitute a violation of due process guarantees under the U.S. Constitution.

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       A.      Issue an order dismissing Plaintiff's initial pleading ("motion for summary

jUdgment") because it is defective and fails to state a claim upon which relief can be granted

under FRCP 12 (b)(6), because there was no process issued and hence process was insufficient

under FRCP 12(b)(4), because the Court lacks personal jurisdiction of Anna Kuznar under FRCP

12(b)(2), and/or because it fails to join a necessary party under FRCP(b)(7).

       B.      Award costs and attorney fees to Anna Kuznar.

       C.      Award such other and further relief to Anna Kuznar as the Court deems

       warranted.


                                             Respectfully submitted,



Dated: January 9, 2012
                                             RENTROP & M9RRIS,..
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                                                          }'Gary R. Rentrop (P19367)
                                                            Susan E. Morrison (P30834)
                                                            Attorneys Pro Hac Vice
                                                            for Anna Kuznar
                                                            40950 Woodward Ave., Suite 300
                                                            Bloomfield Hills, MI 48304
                                                            (248) 644-6970
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                                             Adam J. Augustynski J              /,-4. L· 'OK I­
                                             Attorney for Anna Kuznar
                                             5850 W. Bryn Mawr A venue
                                             Chicago, IL 60646; 773-0044; Attorney
                                             Number 27556




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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
Thomas Kuznar, as administrator of the "Estate of
Emilia Piastowska Kuznar (11 P 6624), Deceased",

                              Plaintiff,

v.                                                               Case No. 1:11-cv-09229
                                                                 HON. JOAN HUMPHREY LEFKOW
Anna Kuznar,

                              Defendant.


           BRIEF IN SUPPORT OF ANNA KUZNAR'S MOTION TO DISMISS
                UNDER FRCP 12(b)(6), 12(b)(4), 12(b)(2) AND 12(b)(7)

Background

       The estate of the foreign decedent, Emilia Piastowska, was allowed to be opened in the

Cook County Circuit Court in December of20l1 (see paragraph 9 of Plaintiffs initial pleading

filled as a "motion for summary judgment"). This newly-created entity ("Emilia's Estate")

through its appointed administrator inexplicably filed this "motion for summary judgment"

seeking a judgment in the amount of $207,504.79 against Anna Kuznar as its initial pleading

without any complaint being first filed or any summons issued.

       Anna Kuznar (now 77 years old), despite being married to Mitchell Kuznar in Illinois for

over 24 years, and caring for him until his death in 1995, was nonetheless deemed to be the

putative spouse (rather than legal spouse) of the deceased Mitchell Kuznar by the Illinois

appellate court in 2004. However, a putative spouse under Illinois law acquires "the rights

conferred upon a legal spouse," and where there is a legal spouse and a putative spouse the

"court shall apportion property, maintenance and support rights among the claimants as

appropriate in the circumstances and in the interests ofjustice." 750 ILCS 5/305 [emphasis




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added] 1. The significant rights of putative spouses were recognized in a prior decision from the

Northern District of Illinois, Central States Pension Fund v. Susie Bell Washington Gray and

Gwendolyn Bernice Gray, 2003 WL 22339272 (U.s. District Court, N.D. Ill, Case No. 02 C

8381, Oct. 10,2003) (unpublished, attached hereto as Exhibit A) - a case which also involved

the analysis of how surviving spouse benefits should be distributed under an ERISA pension plan

in a situation where there was a legal spouse and a putative spouse. To date, no putative spouse

apportionment hearing has ever been held by any court to detennine what apportionment is

appropriate as between Emilia Piastowska and Anna Kuznar.

Argument

A.        Plaintiff's Initial Pleading Should be Dismissed Under Rule 12(b)(6), (b)(4) and (b)(2) of
          the Federal Rules of Civil Procedure.

          In addressing the defective initial pleading filed by the Plaintiff without any summons

being sought or issued, several ofthe FRCP 12(b) defenses are intertwined. FRCP 12(b)(6) sets



I    750 ILCS 5/305 provides in full:
          "§ 305. Putative spouse. Any person, having gone through a marriage
          ceremony, who has cohabited with another to whom he is not legally married in
          the good faith belief that he was married to that person is a putative spouse until
          knowledge of the fact that he is not legally married terminates his status and
          prevents acquisition of further rights. A putative spouse acquires the rights
          conferred upon a legal spouse, including the right to maintenance following
          termination of his status, whether or not the marriage is prohibited, under Section
          212, or declared invalid, under Section 301. If there is a legal spouse or other
          putative spouse, rights acquired by a putative spouse do not supersede the rights
          of the legal spouse or those acquired by other putative spouses, but the court
          shall apportion property, maintenance and support rights among the claimants as
          appropriate in the circumstances and in the interests of justice. This Section shall
          not apply to common law marriages contracted in the State after June 30, 1905."
          [emphasis added]

Cases discussing this statute include the following: Daniels v. Retirement Board of the
Policeman's Annuity and Benefit Fund, 106111.App.3d 412,62 IIl.Dec. 304, 435 N.E. 2d
(l sl Dist.1982); and In Re Marriage of Flores, 96 Ill.App3d 279, 51 IlI.Dec. 885,421
N.E.2d 393,395 (PI District 1981).




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forth the defense of "failure to state a claim upon which relief can be granted" as a defense that

may be asserted by motion before a responsive pleading. FRCP 12(b)(4) and 12(b)(2) set forth,

respectively, the defenses of "insufficient process" and "lack of personal jurisdiction" that may

be asserted by motion before a responsive pleading.

       In examining Plaintiff's initial pleading, multiple defects are apparent on its face. FRCP 3

provides that a "civil action is commenced by filing a complaint with the court." Illinois law

similarly provides at 735 ILCS 5/2-201 that "[e]very action, unless otherwise expressly provided

by statute, shall be commenced by the filing of a complaint. The clerk shall issue summons upon

request of the plaintiff . . ." FRCP 10 provides, in pertinent part as follows with regard to the

form of pleadings:

               (a) Caption; Names of Parties. Every pleading must have a caption with the
               court's name, a title, a file number, and a Rule 7(a) designation. The title of the
               complaint must name all the parties. . . .
               (b) Paragraphs; Separate Statement. A party must state its claims or defenses
               in numbered paragraphs, each limited as far as practicable to a single set of
               circumstances....

FRCP 8 provides in pertinent part:

               (a) Claim for Relief. A pleading that states a claim for relief must contain:
                               *      *       *        *
                (2) a short and plain statement of the claim showing that the pleader is entitled to
               relief; and
               (3) a demand for the relief sought, which may include relief in the alternative or
               different types of relief.

FRCP 4(a) further provides what is required in the contents of a summons which must be signed

by the court clerk, and FRCP 4(c) requires that "[a] summons must be served with a copy of the

complaint."

       Plaintiff's initial pleading is defective because it not only fails to name in the caption the

party against whom it requests a judgment - Anna Kuznar                  but erroneously includes in the




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caption the name and case number of the deceased Estate of Mitchell Kuznar even though the

request for relief asks for no relief against (or on behalf of) Mitchell's Estate nor does it involve

any probate asset of Mitchell Kuznar.

        Plaintiff's initial pleading also is defective and fails to state a claim because it does not

adequately set forth a cognizable legal claim or facts sufficient to support a legal claim against

Anna Kuznar. Conclusory allegations by the Plaintiff regarding "federal ERISA laws" (in

paragraph 6 of Plaintiff s initial pleading) with no statutory citations at all or any allegations as

to the material elements of any claim, are too vague to comply with the minimum requirement

under FRCP 8(a)(2) of showing how the Plaintiff is entitled to the relief requested. Further, the

allegations of Plaintiff appear to relate to distribution of pension benefits, which are actions of

the plan administrator as opposed to Anna Kuznar. As stated by the Court in Pleva v. Norquist,

195 F.3d 905,911    (7th   Cir.1999):

                A complaint is properly dismissed under 12(b)(6) if looking only at the pleadings,
                taking all the facts alleged by the plaintiff to be true, and construing all inferences
                in favor of the plaintiff, the plaintiff fails to state a claim upon which relief can be
                granted.

See also, Stevens v. Umsted, 921 F.Supp. 530, 532 (C.D.IlI. 1996) ("Although a complaint is

not required to contain a detailed outline of the claim's basis, it nevertheless 'must contain either

direct or inferential allegations respecting all the material elements necessary to sustain a

recovery under some viable legal theory."')

        Plaintiff's initial pleading is also defective because Plaintiff failed to obtain a summons

as required when a suit is initiated under either federal or Illinois law. This lack of a summons

means there has been insufficient process under FRCP 12(b)(4). This fundamental defect should

result in dismissal of Plaintiff's initial pleading.




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       Because of the defects either under FRCP 12(b)(6) or 12(b)(4) described above, there is

also no personal jurisdiction over Anna Kuznar and this Court should order dismissal of

Plaintiffs initial pleading under FRCP 12(b)(2). See, for example, Robinson v. Turner, 886 F.

Supp. 1460, 1461- 1462 (S. D. Ind. 1995) and cases cited therein ("Some courts do not make a

distinction between the two motions [FRCP 12(b)(5) and 12(b)(2)] because, where there has

been insufficient service of process, the court does not have personal jurisdiction over the

individual.")

B.     Plaintiffs Initial Pleading Should be Dismissed Under Rule 12(b)(7) of the Federal rules
       of Civil Procedure.

       FRCP 12(b)(7) sets forth the defense of "failure to join a party under Rule 19" as a

defense that may be asserted by motion before a responsive pleading. FRCP 19(a)(I) provides as

follows:

                "(1) Required Party. A person who is subject to service of
                     process and whose joinder will not deprive the court of
                     subject-matter jurisdiction must be joined as a party if:
                     (A) in that person's absence, the court cannot accord
                         complete relief among existing parties; or
                     (B) that person claims an interest relating to the subject of
                         the action and is so situated that disposing of the action
                          in the person's absence may:
                        (i) as a practical matter impair or impede the person's
                             ability to protect the interest; or
                        (ii) leave an existing party subject to a substantial risk of
                             incurring double, multiple, or otherwise inconsistent
                             obligations because of the interest."

       The Plaintiffs initial pleading is based on a pension plan governed by ERISA and the

Plaintiff makes certain allegations (in paragraph 6 of the initial pleading) about required

"distribution." The party who makes distributions under an ERISA pension plan is the plan

administrator. Since the Plaintiff is asking the Court to interpret the terms of the pension plan

and to rule on whether or not certain distributions by the administrator were lawful, the court


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should dismiss the initial pleading of Plaintiff for failing to join that plan administrator as a

necessary party. Clearly when there is apparently an allegation of unlawful conduct by the plan

administrator (distributions which violate ERISA), that person should have the opportunity to

defend against such an allegation. Failure to join the 401(k) plan administrator will "impair or

impede" the pension plan's ability to protect its interests and hence it is a necessary party under

FRCP 19(a)(l).     See,~,   Lester v. Framatome, ANP, Inc., 2006 WL 28500012 (W.D.Va. 2006)

(unpublished, attached as Exhibit B ) (court ordered ERISA pension plan joined as a necessary

party); and General Houses v. Reconstruction Finance Corporation, 81 F. Supp. 202 (N.D. Ill.

1948) (court sua sponte dismissed an amended complaint for failure to join an indispensable

party).

CONCLUSION

          For the reasons set forth above and in the motion filed herewith, Anna Kuznar

respectfully requests that this Honorable Court grant the relief requested in her Motion to

Dismiss Under FRCP12(b)(6), 12(b)(4), 12(b)(2) and 12(b)(7).

                                        Respectfully submitted,

                                        RENTROP &      M~iJUUSONC:~~'/.                                            ,
Dated: January 9, 2012                          By:    :;:!D&lJ_tl.L A-tl--? i--~
                                                       , Gary R. Rentrop (P19367)
                                                         Susan E. Morrison (P30834)
                                                         Attorneys Pro Hac Vice
                                                         for Anna Kuznar
                                                         40950 Woodward Ave., Suite 300
                                                         Bloomfield Hills, MI 48304
                                                         (248) 644-6970

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                                        Attorney for Anna Kuznar
                                        5850 W. Bryn Mawr Avenue
                                        Chicago, IL 60646; 773-0044; Attorney
                                        Number 27556


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                 EXHIBIT A
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Westlaw.
                                                                                                        Page 1
Not Reported in F.Supp.2d, 2003 WL 22339272 (N.D.Ill.), 3 I Employee Benefits Cas. 1748, Pens. Plan Guide
(CCH) P 23985T
(Cite as: 2003 WL 22339272 (N.D.IIl.))
C                                                         Milton.
            United States District Court,
          N.D. Illinois, Eastern Division.                John was covered by the Central States, Southeast
   CENTRAL STATES, Southeast and Southwest                and Southwest Areas Pension Fund (the· "Fund").
 Areas Pension Fund, and Howard McDougall, trust­         The Fund administers the Central States, Southeast
                    ee, Plaintiff,                        and Southwest Areas Pension Plan, an employee
                         v.                               pension benefit plan covered by ERISA FNI (the
 Susie Bell Washington GRAY and Gwendolyn Ber­            "Plan"). The Plan provides, among other benefits, a
              nice Gray, Defendants.                      fifty percent Joint and Surviving Spouse lifetime
                  No. 02 C 8381.                          benefit ("JSS Benefit") to the surviving spouse of a
                                                          deceased Plan participant. The amount of the JSS
                   Oct. 10,2003.                          Benefit varies with each recipient, depending upon
                                                          the Plan participanfs covered service, as defined in
                                                          the Plan documents, and the age of the recipient.
    MEMORANDUM OPINION AND ORDER
                                                                    FNI. ERISA is the Employee Retirement
PLUNKETT, Senior J.                                                 Income Security Act of 1974, as amended,
                                                                    29 U.S.c. § 1001, et seq.
*1 This interpleader action comes before us on the
cross-motions of defendant Susie Bell Washington          Upon John's death, Gwendolyn applied for the JSS
Gray ("Susie") and defendant Gwendolyn Bernice            Benefit and the Fund paid her $305.97 FN2 each
Gray ("Gwendolyn") for summary judgment. For              month from June 2001 through November 200l.
the following reasons, Susie's motion is denied and       Susie applied for the JSS Benefit in March 2002,
Gwendolyn's motion is granted. We tmd that                stating that she was the surviving spouse of John.
Gwendolyn is John's "surviving spouse" and is en­         Uncertain as to who is John's surviving spouse, the
titled to the fifty percent surviving spouse benefit.     Fund suspended payments to Gwendolyn and
                                                          brought this interpleader action. The Fund has de­
                                                          posited $5,738.43 in an account with the Court for
                        Facts                             past due pension benefits and will make future JSS
                                                          Benefit payments to whomever is determined to be
The facts in this case are undisputed. John Henry         John's surviving spouse.
Gray ("John") married Susie in December 1965 in
Louisiana. They separated in 1970, and a formal                     FN2. The Fund has since determined that
judgment of separation was entered by the First Ju­                 Gwendolyn's JSS Benefit, should it be de­
dicial District Court of Caddo Parish, Louisiana on                 termined that she is the proper recipient, is
August 18, 1971. No divorce decree was ever ob­                     $302.97 per month for life rather than
tained. Undeterred, Susie then married Milton Lee                   $305.97. If Susie is the rightful recipient of
("Milton") in August 1973 in Louisiana and John                     the JSS Benefit, her monthly payment
married Patricia Gray ("Patricia") in October 1984,                 would be $314.05. (CompL'II1 6, 31.)
even though Susie and John's marriage was never
legally terminated John divorced Patricia in June         On June 23, 2003, Susie moved for summary judg­
1997 and married Gwendolyn in Texas in February           ment, claiming that she was still legally married to
2000. John remained married to Gwendolyn until            John at the time of his death and that the JSS Bene­
his death in May 2001. Susie is still married to          fit should be paid to her. She submitted a support­




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                                                                                           EXHIBIT A
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Not Reported m F.Supp.2d, 2003 WL 22339272 (N.D.Ill.), 31 Employee Benefits Cas. 1748, Pens. Plan Guide
(CCH) P 23985T
(Cite as: 2003 WL 22339272 (N.D.IU.»

 ing affidavit in which she states she was married to      and then subsequently married another, or Gwen­
 John on December 6, ] 965 in Caddo Parish, Louisi­        dolyn. who participated in a marriage ceremony
 ana. She also states that she and John had one child,     with John in 2000 and remained married to him un­
 Kenneth, born in December 1966, that she and John         til the time of his death?
 separated in January 1970 but that they never di­
 vorced, and that she was still married to John at the     We :first look to the words of the Plan itself for
time of his death in May 2001. (Susie Gray Mot.            guidance but find precious little there to help; we
Summ. J. Ex. A.) She also submitted a copy of her          find a dermition of "dependent child" but no dermi­
and John's marriage license and a copy of the judg­        tion of "spouse" or "'surviving spouse." Because
ment of separation from a Louisiana court. (Id Exs.        there is no federal domestic relations law and mar­
B, C.) In addition, Susie has attached an opinion          riage and divorce are traditional subjects of state
letter from Billy R. Casey, an attorney in Shreve­         regulation, we must look to state law to determine
port, Louisiana. Casey opined that, under Louisiana        who (Susie or Gwendolyn) is the "surviving
Jaw, Susie and John were still legally married to          spouse" under the Plan. Croskey v. Ford Motor
each other at the time of John's death, but the com­       Company-UA~ 2002 WL 974827, at *4 (May 6,
munity property between Susie and John ended on            2002 S.D.N.Y.). Three states' laws are potentially
the date the legal separation was filed. Casey also        applicable in this case: Illinois, where the Plan is
opined that Susie was entitled to one-half of any          administered; Louisiana, where Susie and John
401K pension earned from the date of their mar­            were married and where Susie continues to reside;
riage to the filing date of the legal separation and       and Texas, where Gwendolyn and John were mar­
that under Louisiana law, Kenneth was entitled to          ried and lived at the time of John's death.
the remainder of the 401K pension. (ld Ex. D.)
                                                           Gwendolyn argues that Illinois law should govern.
*2 Gwendolyn also filed a motion for summary               In support of that position, she refers us to a section
judgment asserting her right to receive the JSS Be­        of the Plan which states: "All questions pertaining
nefit. In support, Gwendolyn submitted an affidavit        to the validity of construction of this Pension Plan
which states that she was married to John in Febru­        shall be detennined in accordance with the laws of
ary 2000 and remained married to him until his             the State of I1linois and, to the extent of pre­
death in May 2001 (Gwendolyn Gray Mot. Summ.               emption with the laws and regulations of the United
J. Ex. 6.) Gwendolyn also submitted copies of              States." (Compl. Ex. A § 7.11.) Gwendolyn argues
Susie's petition for separation and custody, filed in      that under llIinois law, Susie should be equitably
Caddo Parish, Louisiana in June 1971, and judg­            estopped from claiming to be John's lawful spouse.
ment of separation, rendered in August 1971. (ld           Susie intended to end her marriage to John. as evid­
Ex. 2.) Also submitted with her motion was a copy          enced by the legal separation, and presumably be­
of Milton's affidavit for a marriage license, which        lieved, in fact, that the marriage was legally tennin­
indicates that Susie had no prior marriage, and a          ated, as evidenced by Susie's subsequent marriage
copy of her and John's marriage license, issued in         to Milton. According to Gwendolyn, it would be in­
Texas. (Id Exs. 3, 5.)                                     equitable and unfair to now allow Susie to reap the
                                                           benefits of being John's spouse when Susie took ad­
                                                           vantage of the end of the marital relationship.
                     Discussion
                                                           Gwendolyn argues that even if Illinois law does not
This motion presents the foUowing issue: who is            apply, under Louisiana law, the result is the same.
John's "surviving spouse" and thus, the rightful re­       In Louisiana, even if a marriage is null due to some
cipient of the JSS Benefit-Susie, who married John,        impediment, such as one party's prior undissolved
legally separated from him but never divorced him          marriage, civil effects still flow from that null mar­




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riage in favor of the party who contracted the mar­             John's marital situation fits these circumstances.
riage in good faith, that party being known as a                Good faith on the part of Gwendolyn is presumed;
"putative spouse." Gwendolyn argues that she con­               we have no reason to believe that she was aware
tracted the marriage with John under a reasonable               that John's prior marriage to Susie was not dis­
and honest belief that the marriage was valid and               solved. See id at 740.
with no knowledge of the legal impediment. As a
putative spouse, she claims she is entitled to the              In addition, Texas courts have applied an accept­
JSS Benefits.                                                   ance-of-the-benefits doctrine to prevent one from
                                                                collaterally attacking a divorce decree when one
*3 Susie argues against the application of Illinois             has previously accepted the benefits of the decree.
law, stating that this issue is not a matter of pension         See Hawkins v. Hawkins, 999 S.W.2d 171, 178
plan construction and that Illinois has no nexus                (TexApp.l999). The doctrine is based on the equit­
with the issue involved. She argues instead for the             able principle of estoppel and precludes a litigant
application of Louisiana law and relies on Casey's              from accepting the benefits of a judgment and then
legal opinion in support of her right to receive the            subsequently challenging that portion of the judg­
JSS Benefits.                                                   ment affording him those benefits. See Carle v.
                                                                Carle, 234 S.W.2d 1002, 1004 (Tex.1950). Al­
We do not find Louisiana law applicable; the only               though Susie and John never divorced, we find the
connection that state has with the parties is that it is        principles expressed by this doctrine applicable
where Susie currently lives, and where she and                  here. Susie has accepted the benefit of the termina­
John were married and obtained their legal separa­              tion of her marital relationship with John for the
tion. Although neither Gwendolyn nor Susie ad­                  past thirty years as she married Milton in 1973 and
dressed the applicability of Texas law, we find that            remains married to him.FN3 See Hawkins, 999
law to be applicable here. The question before us               S.W.2d at 178 (remarriage by a party to a divorce
concerns who is John's "surviving spouse," and it               estops that party from attacking the marriage dis­
seems that the law of John's domicile at death                  solution).
provides the proper reference. See Croskey, 2002
WL 974827, at *5 (looking to law of insured's dom­                     FN3. We think it significant that Susie
icile at death to determine who is lawful widower in                   omitted certain relevant facts from her mo­
ERISA case because insured's domicile is state                         tion for summary judgment, namely that
most interested in questions of insured's marital                      she married Milton in 1973 and remains
status).                                                               married to him. We draw no conclusion,
                                                                       however, from the fact that Susie's prior
Looking to Texas law, we find that Gwendolyn is            -.          marriage to John was omitted from
the rightful recipient of the JSS Benefits. Like                       Milton's marriage license         application.
Louisiana, Texas has the concept of "putative                          (Gwendolyn Gray Mot. Summ. J. Ex. 3.)
spouse" and "putative marriage". "A putative mar­                      Gwendolyn states that Susie committed
riage is one that was entered into in good faith by at                 fraud by failing to include her prior mar­
least one of the parties, but which is invalid by                      riage on the application. Susie correctly
reason of an existing impediment on the part of one                    points out, however, that the affidavit ap­
or both of the parties." Garduno v. Garduno, 760                       plication was made by Milton.
S.W.2d 735, 738 (Tex.App.1988). Where a putative
marriage exists, a putative spouse acting in good               Our analysis of Texas law leads us to conclude that
faith has the same right in property acquired during            Gwendolyn is John's putative spouse, thus John~s
the marital relationship as if she were a lawful                surviving spouse under the Plan and the proper re­
spouse. ld at 739. We find that Gwendolyn and                   cipient of the JSS Benefits. Moreover, this conclu­




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sion is consistent with Congress's goal of protecting        port rights among the claimants as appropriate in
the economic security of surviving spouses when it           the circumstances and in the interests ofjustice.
modified the survivor annuity provisions of ERISA
in 1984 to make them more protective of surviving          750 lLCS 5/305 (1999). The state recognizes that
spouses. See Boggs v. Boggs 520 U.S. 833, 843-844          Gwendolyn has certain rights as a putative spouse
(1997). Nothing submitted to us leads us to reason­        but also recognizes that Susie has certain rights.
ably conclude that Susie has economically relied on        However, the statute demands that we apportion
Jo1m since their separation or that she anticipated        property and rights "as appropriate in the circum­
receiving a monetary benefit upon John's death be­         stances and in the interests of justice." Under this
cause she was his spouse. See Butler v. Bolinger,          framewoIX. we conclude that the JSS Benefits
133 So. 778 (La.Ct.App.193I ) (a separation <La            should be paid to Gwendolyn.
mensa et thoro" in Louisiana tem1inates the legal
regime of community property).                             We come to this conclusion applying the same
                                                           equitable principles discussed above. Illinois courts
*4 Even if Illinois law applied, we would [md the          have applied the rule of estoppel in family law
same result. First of all, we note that for certain do­    cases. "The rule of estoppel [is] founded upon the
mestic matters, Illinois relies on the principles con­     public policy of protecting the marital status and
tained in the Restatement (Second) of Conflicts (the       good character of innocent third persons .... " Forest
"Restatement") to resolve conflict-of-laws ques­           v. Forest, 291 N.E.2d 880, 882 (IIl.App.Ct.1973)
tions. in re Marriage of Adams. 551 N.E.2d 635,            (action to set aside divorce decree). We f'md the ap­
639 (1ll.1990). Section 283 of the Restatement says:       plication of the rule of estoppel appropriate in this
"The validity of a marriage will be determined by          case. By accepting the benefits of a terminated mar­
the local law of the state which, with respect to the      ital relationship (by way of a judgment of legal sep­
particular issue, has the most significant relation­       aration) with John, it would be contrary to public
ship to the spouses and the marriage .... " Restate­       policy to allow Susie to now reject the termination
ment (Second) of Conflict of Laws § 283 (1971).            of the relationship and receive insurance benefits as
This brings us back into the realm of Texas law,           a surviving spouse. FN4 See Goodman v. Goodman,
which we have already discussed.                           260 N.E.2d 257, 260 (Ill.App.Ct.l970) (defendant's
                                                           challenge to validity of divorce decree was barred
Under Illinois substantive law, Gwendolyn is a pu­         by estoppel where defendant received substantial
tative spouse. The Illinois Marriage and Dissolution       property from divorce).
ofMarriage Act says:
                                                                  FN4. In addition, we note that the vast ma­
  Any person, having gone through a marriage ce­                  jority of the benefits at issue were earned
  remony, who has cohabited with another to                       by John after the judgment of separation
  whom he is not legally married in the good faith                was f'mal and during the time Susie was
  belief that he was married to that person is a pu­              married to Milton.
  tative spouse.... A putative spouse acquires the
  rights conferred upon a legal spouse ... whether         The facts here lead us to only one conclusion:
  or not the marriage is prohibited, under Section         equity mandates that Gwendolyn, who married John
  212, or declared invalid, under Section 301. If          in good faith and lived with him as his wife until
  there is a legal spouse or other putative spouse,        his death, is John's surviving spouse under the Plan
  rights acquired by the putative spouse do not su­        and the proper recipient of the JSS Benefits. Ac­
  percede the rights of the legal spouse or those ac­      cordingly, defendant Gwendolyn Gray's motion for
  quired by other putative spouses, but the court          summary judgment is granted; defendant Susie
  shall apportion property, maintenance and sup­           Gray's motion for summary judgment is denied.




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                     Conclusion

*5 For the reasons stated above, we grant defendant
Gwendolyn Gray's motion for summary judgment
and deny defendant Susie Gray's motion for sum­
mary judgment. This is a final and appealable or- der.

N.D.1l1.,2003.
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                  EXHIBITB
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                                                                                                               Page I

Not Reported in F.Supp.2d, 2006 WL 2850012 (W.D.Va.)
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N                                                           Party I) That plan is known as the Employee Retire­
Only the Westlaw citation is currently available.           ment Plan of Framatome ANP, Inc. and Participating
                                                            Subsidiary and Affiliated Companies ("Framatome
            United States District Court,                   Plan"). (Br. in SUpp. I)
                  W.D. Virginia.
          Samuel Robert LESTER, Plaintiff,                                  II. Standard of Review
                   v.                                            Rule 12( b)( 7) of the Federal Rules of Civil Pro­
       FRAMATOME, ANP, INC. Defendant.                      cedure allows a Court to dismiss an action for failure
                                                            to join a party in accordance with Rule 19. See, e.g.,
               No. Civ. 6:06CVOOOI5.                        RPR & Assocs. v. O'Brien/Atkins Assocs.. 921
                   Sept. 29, 2006.                          F.Supp. 1457, 1463 (M.D.N.C.1995); 5C Charles
                                                            Alan Wright & Arthur R. Miller, Federal Practice
                                                            and Procedure § 1359 (3d ed. 2004) ("Rule 12( b)(
Samuel Robert Lester, Lynchburg, VA, pro se.                11 permits a motion to dismiss when there is an ab­
                                                            sent person without whom complete relief cannot be
David E. Constine, Ill, Andrew Philip Sherrod,              granted .... "). On a Rule 12( b)( 7) motion, the Court
Troutman Sanders LLP, Richmond, V A, for Defen­             initially determines if the absent party should be
dant.                                                       joined as a party in accordance with the criteria set
                                                            forth in Rule 19(a)(I). See RPR, 921 F.Supp. at 1463.
                ORDER and OPINION                           Rule 19(a)(l) requires a party to be joined to an ac­
MOON,J.                                                     tion if three criteria are met: (1) the party is subject to
    "'1 This matter is before the Court on Defendant's      service of process; (2) the joinder will not deprive the
unopposed Motion to Dismiss for failure to name a           court of subject matter jurisdiction; and (3) in the
necessary party, filed by Framatome, ANP, Inc.              party's absence, complete relief cannot be accorded
("Framatome") on August 14, 2006 (docket no. 7).            among those already parties. See Fed.R.Civ.P.
For the following reasons, the Court hereby                  19(a)(l). If the court determines that all three criteria
GRANTS in part and DENIES in part Defendant's               are met, the party will be ordered to join the action
motion. Pursuant to Rules 12( b)( 7) and ~~-"-""            and dismissal of the action is not required. See RPR.
Federal Rules of Civil Procedure, the Court hereby          921 F.Supp. at 1463.
ORDERS that the "Employee Retirement Plan of
Framatome ANP, Inc. and Participating Subsidiary                                 III. Discussion
and Affiliated Companies" be ADDED as a defen­                   Here, Plaintiff apparently seeks relief under 29
dant in this action.                                        U.S.C. § 1132(a)(I)(B), which allows participants or
                                                            beneficiaries to bring a civil action to recover bene­
                      I. Background                         fits due him under terms of an employee welfare
     Plaintiff is seeking benefits from Defendant un­       benefit plan. 29 U.S.C. § 1132(a)(I)(B) (2000). As
der the Employee Retirement Income Security Act of          Plaintiff is seeking early retirement benefits from the
1974 ("ERISA"), 29 U.S.c. §§ 1001-1461 (2000).              Framatome Plan, that entity appears to be a necessary
(See Compl. para. 17) ("I am asking the court to re­        party. More specifically, Rule 19(a)(l) requires join­
quire Framatome ... to pay me monthly early retire­         der of the Framatome Plan if (I) it is subject to ser­
ment benefits .... ")                                       vice of process; (2) joinder of the Framatome Plan
                                                            would not deprive the Court of subject matter juris­
     As Defendant has pointed out, assuming without         diction; and (3) in the absence of the Framatome Plan
deciding that Plaintiff is entitled to such benefits, the   from this action, Plaintiff could not be accorded
liability for paying those benefits would lie not with      complete relief.
Framatome but instead with Framatome's employee
retirement plan. (Br. in SUpp. of Framatome ANP's               "'2 Defendant points out in its brief that the
Mot. to Dismiss for Failure to Name a Necessary             Framatome Plan meets all three criteria. The Frama-




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                                                                                              EXHIBITB
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tome Plan is subject to service of process (Br. in
Supp. 6), joinder of the Framatome Plan would not
destroy subject matter jurisdiction (Br. in Supp. 6)
("[A]s this matter is undisputedly one involving a
federal question arising under ERISA, its presence
would not affect the Court's jurisdiction over this
matter."), and Plaintiff here cannot be accorded com­
plete relief if the Framatome Plan were not added
(Br. in SUpp. 4-5) ("[T]he relief sought by Plaintiff ...
would come from the assets of the Framatome Plan,
and not from Framatome itself. Thus, in the absence
of the Framatome Plan, complete relief cannot be
accorded.").

    This Court finds, therefore, that the Framatome
Plan is a necessary party under Rule 19(a)(1) and
should be joined in this action. The Court hereby
ORDERS that the "Employee Retirement Plan of
Framatome ANP, Inc. and Participating Subsidiary
and Affiliated Companies" be ADDED as a defen­
dant in this action.

     The Clerk of the Court is hereby directed to send
a certified copy of this Order to all counsel of record.

W.D.Va.,2006.
Lester v. Framatome, ANP, Inc.
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